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Attorney for Plaintiff

                 UNITED STATES DISTRICT COURT
                                DISTRICT OF ALASKA

MICHAEL H. NAKADA,                     )
                                       )
            Plaintiff,                 )
    v.                                 )              Civil Case No.: 3:09-cv-00013 TMB
                                       )
NCO FINANCIAL SYSTEMS, INC.,           )
                                       )
            Defendant.                 )
                                       )
_______________________________________)

   PARTIES’ NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

Parties’ file a notice of dismissal under Federal Rule of Civil Procedure 41(a)(1)(ii).

   1.       Michael H. Nakada is plaintiff.

   2.       NCO Financial Systems, INC. is the defendant.

   3.       On January 26, 2009, plaintiff filed suit against defendant by filing the

            underlying complaint. Document 1

   4.       Defendant has received the complaint and summons via restricted delivery

            priority mail. Defendant has filed an Answer. Document 4

   5.       This case is not a class action, and a receiver has not been appointed.

   6.       This action is not governed by any statute of the United States that requires

            an order of the court for dismissal of this case.



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    7.        Plaintiff has not dismissed an action based on or including the same claim

              or claims as those presented in this suit.

    8.        This dismissal by stipulation of all parties is with prejudice and waives any

              petition for costs or fees.


          DATED this 21st day of May, 2009.

                                            DELANEY WILES, INC.
                                            Attorneys for Defendant,
                                            NCO Financial Systems, Inc.

                                            /s/ Scott J. Gerlach (Consent)
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          Certificate of Service

I hereby certify that on the 21st day of
May, 2009, a copy of the foregoing document
was served electronically on all parties
via the CM/ECF system:
s/ Paul H. Bratton




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